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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MARYLAND

LAKESIA TIBBS,                                      *

                Plaintiff,                          *

        v.                                          *       Case No.

MGM NATIONAL HARBOR, LLC                            *

                Defendant.                          *

        *       *       *        *    *      *      *       *      *      *      *      *
                                     NOTICE OF REMOVAL

        Defendant, MGM National Harbor, LLC, hereby removes Case No. CAL22-19683 from

the Circuit Court for Prince George’s County, Maryland, to the United States District Court for

the District of Maryland, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, and as grounds for its

removal states as follows:

                                      Statement of the Case

        1.      The above-captioned action was filed by Plaintiff Lakesia Tibbs on or about July

21, 2022 in the Circuit Court for Prince George’s County, Maryland, Case No. CAL22-19683. A

copy of the Complaint is attached hereto as Exhibit A.

        2.      Plaintiff originally named and served an entity identified as “MGM Resorts

International, Inc. a/k/a MGM Resorts International” with the Summons and Complaint on August

10, 2022 through CSC Lawyers Incorporating Service Company, a copy of which is attached

hereto as Exhibit B.

        3.      “MGM Resorts International, Inc. a/k/a MGM Resorts International” is not a proper

entity for this alleged loss.




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        4.      Plaintiff filed an Amended Complaint removing “MGM Resorts International, Inc.

a/k/a MGM Resorts International” and naming the proper entity “MGM National Harbor, LLC”

on or about August 26, 2022. A copy of the Amended Complaint is attached hereto as Exhibit

C.

        5.      Defendant has waived formal service of the Amended Complaint.

        6.      The Complaint purports to assert claims of negligence and respondeat superior

liability.

        7.      Plaintiff seeks relief including compensatory and other damages “in the amount of

five hundred thousand dollars.” See Exhibit C, p. 4.

                     Diversity Jurisdiction pursuant to 28 U.S.C. §1332(a)

        8.      This Court has jurisdiction over this matter under 28 U.S.C. §1332(a), because there

is complete diversity of citizenship between Plaintiff and Defendant, and more than $75,000

(exclusive of interest and costs) is at stake.

        9.      Plaintiff alleges that she is a resident/citizen of the District of Columbia.

        10.     Defendant, MGM National Harbor, LLC, is not a citizen of District of Columbia.

        11.     Plaintiff in this action requests unspecified compensatory damages “in the amount

of five hundred thousand dollars” plus costs and interest. Thus, over $75,000 is in controversy

and the jurisdictional threshold under 28 U.S.C. §1332(a) is satisfied.

                                                 Conclusion

        12.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule 103.5(a) a true and correct copy of

all of the process, pleadings, orders, and documents from the State Court Action which have been

served upon Defendant, MGM National Harbor, LLC, are being filed with this Notice of Removal.




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        13.    This Notice of Removal is being filed within 30 days of the date that original service

was made. Removal is therefore timely in accordance with 28 U.S.C. § 1446(b).

        14.    Venue is proper in this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(a) because

the U.S. District Court for the District of Maryland is the federal judicial district embracing the

Circuit Court for Prince George’s County, where the State Court Action was originally filed.

        15.    By notice of Removal, Defendant, MGM National Harbor, LLC, does not waive

any objections it may have as to service, jurisdiction, or venue, or any other defenses or objections

it may have to this action. Defendant contends no admission of fact, law, or liability by this Notice,

and expressly reserves all defenses, motions, and or pleas.

                                            Respectfully submitted,

                                           WILSON, ELSER, MOSKOWITZ,
                                           EDELMAN & DICKER LLP


                                            /s/ Emily F. Belanger
                                            __________________________________
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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 2nd day of September, 2022, a copy of this Notice of

Removal was served via first-class mail, postage prepaid, to the following counsel of record:


        Keith W. Watters, Esq.
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        Attorneys for Plaintiff


                                             /s/ Emily F. Belanger
                                             __________________________________
                                             Emily F. Belanger




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